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DebtorZ

 

 

(Spouse, iff¢iirg) Flrsa Name made N¢me La
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ease number / g d /mg; q/? insured

 

 

 

 

 

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» mended filing

Offlcia| Form 1060ec

Declaration About an lndividual Debtor’s Schedules ms

 

lftwo married people are filing together, both are equally responsible for supplying correct information

You must tile this form whenever you file bankruptcy schedules or amended schedules Making afalse statement concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

No
n Yes. Name di person s Attach Bankmplcy Fetition Preparer‘s Notioe, Dedaralion, and
Signa(ure (Ollicial Form 119).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and

 

that they are true and correct.
Signature of Debto 1 Signature of Debtor 2
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MM/ / MM/ 00 / YYvY

Omcial Form 106Dec Declaration About an individual Deblor’s Schedules

 

 

 

 

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36 Declarntion (Off`):ial Form - Deolsxation) l?/ 7)

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Debtor (lfknown)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

 

DECLARAT{ON UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of § sheets, and that they are true and correct to the best of

my knowledge, information, and belief.
Date 0 7/0¢//20/ g Signature: CLMMM"-)
l ' / \/ y I

Debtor

Date Signatm'e:

 

(Joint Debtor, ifany)

[If joint case, both spouses must siQL]

 

DECLARA’I'ION AND SlGNATURE OF NON-A'I'I'ORNEY BANKRUFl`CY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that (l)I am a bankruptcy petition preparer as defined in ll U,S.C. § 110; (2) I prepared this document for compensation md have provided
the debtor with a copy of this document and the notices and information required under ll U.S.C. §§ llO(b), llO(h) and 342(})), and, (3) if rules or guidelines have been
promulgated pursuant to ll U.S,C. § IlO(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee hom the debtor, as required by that section

Printed or Typed Name and Title, if any, Social Seourity No. Lf
of Bankruptcy Pctition Preparer dlequired by 11 U.S.C. § ]I(l)

 

lfrhe bankruptcy petition preparer is nor an indvidrel, state the name, title Hfany), ad¢b'ess, and social security number of the oNcer, pfincipal,
who signs this document

 

miss

X
Signaturc of Bankrupocy Potition Preparer Date

 

 

Names and Sooial Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is not an individuals

l/' more than one person prepared this documt, attach additional signed sheets cory'omdng to the appropriate lecialFomr_h)r each person

A bankmpzcy petition preparerir failure to comply with the provisions of title 11 and the Federa£ Rule.r oannh~uptcy Procedure may result in fines or imprisormxent or both. 11 U.S.C. § I]O;
18 U.S.C. § 156.

 

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

I, the [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the [corporation or partnership] named as debtor in this oase, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of sheets (Total shown an summary page plus 1), and that they are true and correct to the best of my
knowledge, infom\ation, and beliet`.

Date

 

Signawre:

 

 

[Pn'nt or type name of individual signing on behalf of debtor.]

[An individual signing on behalquaparmershz'p or corporation must indicate position or relationship to debwr.]

 

Penalgvfor making a fir/se statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

 

